Case 2:96-cV-02520-.]PI\/|' Document 851 Filed 08/09/05 Page 1 of 4 Page|D 1658

 

v .1_
IN THE UNITED sTATEs DISTRICT coURT F“'ED B G¥F
FoR THE wEsTERN DISTRICT oF TENNESSEE .
wEsTERN DIvIsIoN GSAUG-Q PH 2-5\
"USMF£LU
DARIUS D. LITTLE, CEH£U°Y\MWTCGFH

Plaintiff,

'V'.

SHELBY COUNTY, TENNESSEE, et al.,

Defendants.

NUGF'J\JYHS

NO. 96~2520 Ml/A

vv~._r\._r\`_r\~_r-_¢~_/\._¢'~._d

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Curtis J.

Shumpert, has submitted invoices for fees and expenses incurred

in connection with this matter in the amount of $22,658.00 for

the following months in 2003:

October: $2,450.
November: $2,420
December: $2,450
and for the following months in
January: $2,676.
February: $1,985.
March: $1,635.
April: $2,230.
May= $1,520.
June: $1,321.
July: $1,015
August: $1,426.
September: $1,500.

This document entered on the dockets eet In com lianca
wmtheSBandkn?Sw)FHCPon é’ 26 Oép

00

.00
.00

2004:

00
00
00
00
00
00

.00

00
00

 

Case 2:96-cV-02520-.]PI\/| Document 851 Filed 08/09/05 Page 2 of 4 Page|D 1659

Accordingly, the Clerk of Court is directed to send the sum
of $22,658.00 to the Assistant Special Master, Curtis J. Shumpert

at, 3277 McCorkle Road, Memphis, Tennessee, 38116.

IT IS SO ORDERED THIS 5 DAY OF August, 2005.

Q»QMM

JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 851 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Case 2:96-cV-02520-.]PI\/| Document 851 Filed 08/09/05 Page 4 of 4 Page|D 1661

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/lemphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

